                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
                                  BOSTON DIVISION


PURE ENCAPSULATIONS, LLC,

                         Plaintiff,
                                                       Civil Action No. ____
        v.

LEAN LIVING INC., et al.

                         Defendants.


                        CORPORATE DISCLOSURE STATEMENT OF
                         PLAINTIFF PURE ENCAPSULATIONS, LLC

        Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Pure Encapsulations, LLC,

plaintiff in the above-captioned action, hereby discloses that:

        1.        Pure Encapsulations, LLC’s parent company is Nestlé SA.

        2.        Nestlé S.A. shares are traded on the SIX Swiss Exchange and it owns more than

10% of Pure Encapsulations, LLC.




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January 17, 2019                                     Respectfully Submitted,

                                                     PURE ENCAPSULATIONS, LLC

                                                     By its counsel,

                                                     /s/ John Gutkoski
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Pro Hac Vice application forthcoming



                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system, on the above date, will
be sent electronically to all attorneys of record as identified on the Notice of Electronic Filing
(NEF).

                                             /s/ John Gutkoski




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